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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     DIANE CLADIANOS,                                   Case No. 20-cv-03769-JST
                                                        Plaintiff,
                                   8
                                                                                            ORDER TO SHOW CAUSE
                                                 v.
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                                                                                            Re: ECF Nos. 56, 58, 60, 61
                                  10     MARIN GENERAL HOSPITAL, et al.,
                                                        Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          Defendant Marin General Hospital filed a motion to dismiss the Third Amended

                                  14   Complaint on July 21, 2021. ECF No. 56. Plaintiff’s opposition was due by August 4, 2021. Civ.

                                  15   L.R. 7-3(a). Defendant United States filed its motion to dismiss on July 22, 2021. ECF No. 58.

                                  16   Plaintiff’s opposition was due by August 5, 2021. Civ. L.R. 7-3(a).

                                  17          As of August 30, 2021, Plaintiff has not filed an opposition to either motion. The Court

                                  18   orders Plaintiff to show cause, in writing, by September 13, 2021, why this action should not be

                                  19   dismissed with prejudice for failure to prosecute.

                                  20          IT IS SO ORDERED.

                                  21   Dated: August 30, 2021
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                                                                                                     JON S. TIGAR
                                  23                                                           United States District Judge

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